                                        EXHIBIT A

                                 List of Objectionable Claims




DOCS_DE:236571.4 75015/003
 Case 2-20-20230-PRW,        Doc 1405-1, Filed 11/01/21, Entered 11/01/21 19:06:53,
                             Description: Exhibit A, Page 1 of 3
                  Claimant Name              No. of        Amount of      Classification    No. of       Amount (as    Classification (as    Grounds for Objection      Disposition if Objection is
                                          Objectionable   Objectionable    (as filed) of   Surviving      filed) of    filed) of Surviving                                       Granted
                                              Claim           Claim       Objectionable      Claim     Surviving Claim        Claim
                                                                              Claim
BAUSCH HEALTH US LLC                           53           $1,051,350.72      GUC            64        $1,134,537.83          GUC           Claim 64 amends and     Claim 53 is disallowed. Claim 64
                                                                                                                                             supersedes Claim 53.    is not affected by the Objection,
                                                                                                                                                                     but remains subject to other and
                                                                                                                                                                     further objection.

BRIGHTON‐EGGERT PHARMACY INC                 22402           $205,000.00       GUC          22417         $675,000.00          GUC           Claim 22417 amends      Claim 22402 is disallowed. Claim
                                                                                                                                             and supersedes Claim    22417 is not affected by the
                                                                                                                                             22402.                  Objection, but remains subject to
                                                                                                                                                                     other and further objection.

EULER HERMES NORTH AMERICA INSURANCE CO        63              $8,333.18       GUC          22712            $8,333.18   $6,360.26 GUC       Claim 22712 amends      Claim 63 is disallowed. Claim
(Agent for NEWEGG BUSINESS INC)                                                                                          $1,972.92 ADM       and supersedes Claim    22712 is not affected by the
                                                                                                                                             63.                     Objection, but remains subject to
                                                                                                                                                                     other and further objection.



EULER HERMES NORTH AMERICA INSURANCE CO       147              $4,473.54       GUC          22713            $4,473.54   $1,532.65 GUC       Claim 22713 amends      Claim 147 is disallowed. Claim
(Agent for GOLDEN BROTHERS, INC.)                                                                                        $2,940.89 ADM       and supersedes Claim    22713 is not affected by the
                                                                                                                                             147.                    Objection, but remains subject to
                                                                                                                                                                     other and further objection.

GALDERMA LABORATORIES LP                       44             $22,757.47       GUC           376           $22,757.47          GUC           Claim 376 amends and    Claim 44 is disallowed. Claim 376
                                                                                                                                             supersedes Claim 44.    is not affected by the Objection,
                                                                                                                                                                     but remains subject to other and
                                                                                                                                                                     further objection.

GALDERMA LABORATORIES LP                      375             $21,788.56       GUC           376           $22,757.47          GUC           Claim 376 amends and    Claim 375 is disallowed. Claim
                                                                                                                                             supersedes Claim 375.   376 is not affected by the
                                                                                                                                                                     Objection, but remains subject to
                                                                                                                                                                     other and further objection.

GLAXOSMITHKLINE LLC                          20000          $3,956,535.04      GUC          21996       $5,805,800.00          GUC           Claim 21996 amends      Claim 20000 is disallowed. Claim
                                                                                                                                             and supersedes Claim    21996 is not affected by the
                                                                                                                                             20000.                  Objection, but remains subject to
                                                                                                                                                                     other and further objection.

HARRIS PHARMACEUTICAL INC                      4               $6,937.46       GUC           292             $6,863.30         GUC           Claim 292 amends and    Claim 4 is disallowed. Claim 292
                                                                                                                                             supersedes Claim 4.     is not affected by the Objection,
                                                                                                                                                                     but remains subject to other and
                                                                                                                                                                     further objection.

L&R DISRIBUTORS                              20029             $3,491.85       GUC          21764            $3,491.85 $3168.56 GUC          Claim 21764 amends      Claim 20029 is disallowed. Claim
                                                                                                                       $322.94 ADM           and supersedes Claim    21764 is not affected by the
                                                                                                                                             20029.                  Objection, but remains subject to
                                                                                                                                                                     other and further objection.




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                Claimant Name                No. of        Amount of     Classification    No. of       Amount (as    Classification (as    Grounds for Objection      Disposition if Objection is
                                          Objectionable   Objectionable   (as filed) of   Surviving      filed) of    filed) of Surviving                                       Granted
                                              Claim           Claim      Objectionable      Claim     Surviving Claim        Claim
                                                                             Claim
LR LOGISTICAL SOLUTIONS                      20032            $20,361.90      GUC          21766          $12,928.02          GUC           Claim 21766 amends      Claim 20032 is disallowed. Claim
                                                                                                                                            and supersedes Claim    21766 is not affected by the
                                                                                                                                            20032.                  Objection, but remains subject to
                                                                                                                                                                    other and further objection.

PHARMACEUTICAL ASSOCIATES INC                   7             $47,735.51      GUC           370           $45,943.39          GUC           Claim 370 amends and    Claim 7 is disallowed. Claim 370
                                                                                                                                            supersedes Claim 7.     is not affected by the Objection,
                                                                                                                                                                    but remains subject to other and
                                                                                                                                                                    further objection.

PRINCE OF PEACE ENTERPRISES INC                23             $29,484.40      GUC           126           $29,484.40          GUC           Claim 126 amends and    Claim 23 is disallowed. Claim 126
                                                                                                                                            supersedes Claim 23.    is not affected by the Objection,
                                                                                                                                                                    but remains subject to other and
                                                                                                                                                                    further objection.




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